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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MOHAN A. HARIHAR CIVIL ACTION NO: 15-cv-11880

Plaintiff

vs.

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WELLS FARGO NA,

US BANK NA, SS
RMBS CMLTI 2006 AR-1, SS =
COMMONWEALTH OF MASSACHUSETTS, Sk & «a
HARMON LAW OFFICES PC, = ee AD ts
fo: aa
NELSON MULLINS RILEY AND SCARBOROUGH LLP, 3am 2S
K&L GATES LLP 2. D ty
Yj “oO
MARTHA COAKLEY 3 oe
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DAVID E. FIALKOW - ESQ, mc
JEFFREY PATTERSON - ESQ, A oO
PETER HALEY - ESQ, _

KURT R. MCHUGH - ESQ,
MARY AND KEN DAHER —- DAHER COMPANIES,

JEFFREY AND ISABELLE PERKINS

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Defendants

AMENDMENT TO ORIGINAL COMPLAINT FILED IN ACCORDANCE OF FEDERAL
CIVIL PROCEDURE RULE 15 (a) (1)

The Plaintiff, MOHAN A. HARIHAR, acting pro se, respectfully files

this amendment and update, as indicated in the originally filed
complaint. This amendment addresses:

1. Recent decisions announced by the Middlesex Superior Court

and the Northeast Housing Court.
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a. Middlesex Superior Court - The Plaintiff first wishes to
recognize the Courts’ decision to correctly DENY the
Defendants’ attempt to bar future filings of the
Plaintiff. Additionally recognized is a NOQ-DECISION
pertaining to attempts by Defendants to collect related
Appellate (Brief) costs. However, considering the enormity
of DOCUMENTED evidence and information supporting the
Plaintiff’s consistent claims, clear concerns pertain to
the Court’s decisions DENYING Injunctive Relief, the
Return of Escrowed Funds, and Notifying the Massachusetts
Board of BAR Overseers/BAR Counsel. Consistent with
historical decisions related to this matter, the Court
fails to provide ANY clarification or rationale supporting
its decisions.’ Furthermore, the denial of injunctive
relief, and the proper release of escrowed funds back to
the Plaintiff impacts state of indigence/pauperism, and
the Plaintiff’s ability to pay the Court fees associated
with this Docket.

b. Northeast Housing Court - Similarly with regard to the
decision releasing $249 in Bond funds, the Court has
seemingly ignored ALL supporting evidence and information

provided by this pro se litigant.

 

1 A Motion requesting clarification and reconsideration has been
filed with the Middlesex Superior Court.
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ce. These recent decisions by both Massachusetts Courts,
further exemplify the Commonwealth’s clear refusal to take
corrective action, thus allowing harm and accruing damages
to unnecessarily continue towards this Plaintiff. These
disturbing concerns provide additional support,
questioning (at minimum) the integrity of the Judicial
system within the Commonwealth of Massachusetts.

d. The Plaintiff respectfully re-states the necessity to
assign a Special Prosecutor, the initiation of multiple
internal investigations, and the alignment of a necessary
criminal complaint(s), in conjunction with this filed
Civil Docket.

2. With the recent decision made by the Middlesex Superior Court
(MA), the Plaintiff respectfully files in accordance of
Federal Rules of Civil Procedure - Local Rule 65, with this
Federal District Court, a Motion requesting Injunctive Relief
to the Plaintiff (Motion filed separately).

3. With the recent decision made by the Middlesex Superior Court
(MA), the Plaintiff respectfully files in accordance of
Federal Rules of Civil Procedure - Local Rule 65, with this
Federal District Court, a Motion requesting a Temporary
Restraining Order - TRO (Motion filed separately).

4. With the recent decision made by the Middlesex Superior Court

(MA), the Plaintiff will temporarily postpone filing a Motion
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to inform the Massachusetts Board of BAR Overseers/BAR
Counsel, as the details of attorney misconduct (alleged) is
planned to be addressed in the forthcoming trial.

5S. Based on the recent actions aligning with referenced
misconduct, as witnessed in the Middlesex Superior Court and
the Northeast Housing Court, and as indicated in the original
complaint, the Plaintiff now expands the list of Defendants
to include the following parties:

a. K&L Gates LLP.’
b. Kurt R. McHugh, ESQ.?
©. Martha Coakley, MA Attorney General (Former)*

6. The Plaintiff wishes to inform the Court of recent efforts
made by the Massachusetts Office of the Attorney General - to
BLOCK this Plaintiff from following and viewing @MassAGO’s
Tweets on Social Media. There has been no communication

received by this Plaintiff to explain why this has occurred.

 

2 K&L Gates is a global law firm with an Office in Boston located
at State Street Financial Center, One Lincoln Street, Boston, MA
02111 (See Exhibit A, Follow-up communication delivered via email
communication by the Plaintiff - Mohan A. Harihar, to the Director
of Human Resources of K&L Gates, Bryan Olson. Multiple parties
copied on this communication include: The Federal Bureau of
Investigation, The US Attorney’s Office, Governor Charlie Baker
(MA), US Senator Elizabeth Warren (MA), US Senator Ed Markey (MA),
Congresswoman Nikki Tsongas (MA), State Senator Eileen Donohue
(MA), Attorney General Maura Healey (MA), and the Consumer
Financial Protection Bureau (CFPB).

3 Kurt R. McHugh is an attorney employed by Harmon Law Offices PC,
with a business address located at 150 California Street, Newton,
MA 02458.

4 Martha Coakley is the former Massachusetts Attorney General who
is believed to reside at 44 Coolidge Road, Medford, MA 02155.
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7. The Plaintiff has again followed-up with communications to
both the US Attorney’s Office, as well as the Federal Bureau
of Investigation (FBI) regarding this matter, and is awaiting
a response from Federal Prosecutors regarding next steps.

8. The Plaintiff's efforts to secure an experienced = and

qualified legal team are ongoing.

Respectfully Submitted,

ohan A. Harihar

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